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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION

 GEONNA THOMPSON,                                §
                                                 §
         Plaintiff,                              §       Civil Action No.: 4:22-cv-00595
                                                 §
 v.                                              §
                                                 §             JURY DEMANDED
 NHJUSTIN, LLC, and LANDCORE                     §
 DEVELOPMENT AND                                 §
 CONSTRUCTION, LLC,                              §
                                                 §
         Defendants.

                           PLAINTIFF'S ORIGINAL COMPLAINT

       Comes now Geonna Thompson ("Plaintiff") and alleges as follows:

                                                I.
                                          INTRODUCTION

       1.       Plaintiff Geonna Thompson brings this action against NHJustin, LLC, and

Landcore Development and Construction, LLC ("Defendants") alleging violations of the Fair

Housing Act, Title VIII of the Civil Rights Act of 1968, as amended by the Fair Housing

Amendments Act of 1988 ("FHA"), 42 U.S.C. §§ 3601-3619 with regard to lack of accessibility

at the Village at Reatta Ridge Apartments, 810 Tally Boulevard, Justin, Texas 76247 (the

"Property").

       2.       Plaintiff seeks declaratory, monetary and injunctive relief arising from violations

of the accessibility requirements of the FHA. The FHA requires that certain apartment complexes

built for first occupancy after March 13, 1991 be designed and constructed with accessible and

useable features for people with disabilities.




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        3.      Plaintiff is a handicapped individual who uses a wheelchair. She brings this civil

rights action against the Defendants for failing to design and/or construct apartments with

accessible and useable features for people with disabilities as required by the FHA. Defendants'

apartment complex, the Village at Reatta Ridge Apartments, is a multi-family dwelling that has

numerous barriers to access. Therefore, Plaintiff seeks a declaration that Defendants' apartment

complex violates federal law and an injunction requiring Defendants to comply with the

requirements of the FHA.

        4.      The Defendants' violations of the FHA have thwarted Congressional efforts to

eradicate housing discrimination against people with disabilities and rendered units and/or

facilities unavailable to people with disabilities. Enforcement of the FHA against the Defendants

is necessary because of the extensive nature of the civil rights violations at apartments designed,

constructed and/or owned by the Defendants.

                                             II.
                                  JURISDICTION AND VENUE

        5.      This Court has federal question jurisdiction pursuant to 28 U.S.C. §1331 and

42 U.S.C. § § 3613(a).

        6.      Plaintiff's claims asserted herein arose in this judicial district and Defendants do

substantial business in this judicial district.

        7.      Venue in this judicial district is proper under 28 U.S.C. §1391(b) and (c) in that this

is the judicial district in which a substantial part of the acts and omissions giving rise to the claims

occurred.




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                                              III.
                                            PARTIES

        8.     Plaintiff, Geonna Thompson, is and, at all times relevant hereto, was a resident of

the State of Oklahoma. Plaintiff is and, at all times relevant hereto, has been legally handicapped

and is therefore a member of a protected class under the FHA.

        9.     Defendant NHJustin, LLC (“NHJustin”), is Texas limited liabiilty company located

at 14302 FNB Parkway, Omaha, Nebraska 68154, and may be served with process through its

registered agent, Neal Hawks, at 939 County Road 1308, Bridgeport, Texas 76426. Upon

information and belief, NHJustin is the owner of the Property. Upon information and belief,

NHJustin participated in the design and construction of the Property. Upon information and belief,

said Defendant hired various contractors to design and build the Property.

        10.    Defendant Landcore Development and Construction, LLC (“Landcore”), is Texas

limited liability company located at 2570 Justin Road, Suite 207, Lewisville, Texas 75077, and

may be served with process through its registered agent, Michael Silvaggio, at 2570 Justin Road,

Suite 207, Lewisville, Texas 75077. Upon information and belief, Landcore is the construction

company of the Property. Upon information and belief, said Defendant participated in the design

and construction of the Property. Upon information and belief, Landcore hired various contractors

to design and build the Property.

                                        IV.
                               STATUTORY BACKGROUND

A.      The FHA

        11.    Congress enacted the FHA design and construction accessibility requirements as

part of a comprehensive revision of the FHA to prohibit discrimination on the basis of disability.

The debates and legislative history of the FHA reflect Congressional findings that a person using




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a wheelchair or other mobility aid is just as effectively excluded from the opportunity to live in a

particular dwelling by steps or thresholds at building or unit entrances and by too narrow doorways

as by a posted sign saying "No Handicapped People Allowed." In considering the 1988 disability

amendments to the FHA, Congress stressed that enforcement of civil rights laws is necessary to

protect people with disabilities from the "devastating" impact of housing discrimination, including

the "architectural barriers" erected by developers who fail to construct dwellings and public

accommodations accessible to and useable by people with disabilities. HR. REP. NO. 100-711,

at 25 (1988), reprinted in 1988 U.S.C.C.A.N. 2173, 2186.

       12.     In response to Congressional findings, the FHA mandated that every multi-family

apartment building containing four (4) or more units and built for first occupancy after March 13,

1991 ("covered multi-family dwellings") be subject to certain design and construction

requirements. Congress specifically rejected the approach of requiring only a specific number or

percentage of units be fully accessible. Instead, Congress decided that all covered multifamily

dwellings units must comply with the Act's design and construction requirements. All ground floor

units must comply with the following requirements, as must all units served by an elevator:

               a)      Public-use and common-use areas that are readily accessible to, and useable

                       by, people with disabilities;

               b)      Doors into and within covered units that are sufficiently wide to allow

                       passage by people in wheelchairs;

               c)      An accessible route into and through the dwelling;

               d)      Light switches, electrical outlets, thermostats and other environmental

                       controls in accessible locations;




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                e)     Reinforcements in bathroom walls that allow for the later installation of

                       grab bars; and

                f)     Useable kitchens and bathrooms such that an individual in a wheelchair can

                       maneuver about the space.

          13.   Congress viewed the accessibility requirements imposed by § 3604(f)(3)(C) as

"modest." Congress found that these standards do not impose "unreasonable requirements" or a

"standard of total accessibility," but rather the "basic features" required by § 3604(f)(3)(C) amount

to "minimal standards" that would be "easy to incorporate in housing design and construction."

Furthermore, according to the House Report, the § 3604(f)(3)(C) requirements could be met

without making new multi-family housing "look unusual" and without "significant additional

costs."

          14.   Pursuant to Congressional authority, the United States Department of Housing and

Urban Development ("HUD") promulgated final FHA design and construction regulations in

January 1989, see 24 C.F.R § 100.205 (2008), and published the final Fair Housing Act

Accessibility Guidelines on March 6, 1991 (hereinafter "FHAAG") which incorporates the

requirements of the American National Standard for buildings and facilities providing accessibility

and usability for physically handicapped people, A117-I-1986 (hereinafter "ANSI"), see 56

Fed.Reg. 9472 (Mar. 6, 1991), and the Fair Housing Act Design Manual in August 1996, which

was revised in August 1998.

          15.   Defendants failed to comply with the FHAAG and ANSI in the design and

construction of the Property. They also failed to comply with any other recognized objective FHA

or ADA standard for accessibility.




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                                            V.
                                   FACTUAL BACKGROUND

A.      The "Property".

        16.     The "Village at Reatta Ridge Apartments" is an apartment complex located at 810

Tally Boulevard, Justin, Texas 76247. The Property consists of approximately 300 units spread

over multiple buildings with at least four units per building. The apartment complex is not served

by elevators.

        17.     The Property described above was designed and constructed for first occupancy

after March 13, 1991.

        18.     The Property contains "covered multifamily dwellings" within the meaning of

42 U.S.C. § 3604 (f)(7).

        19.     The covered multifamily dwellings at the Property are subject to the requirements

of 42 U.S.C. § 3604 (f)(C)(3). These include all ground floor units.

B.      Plaintiff's Visit to the Property.

        20.     Plaintiff recently visited the Property and looked at one or more units. Plaintiff

observed and encountered accessibility barriers that would interfere with his ability to access and

use the facilities. These barriers were a deterrent to a disabled person, such as Plaintiff, renting an

apartment.

        21.     As a result of Defendants' non-compliance with the FHA, Plaintiff, unlike persons

without disabilities, cannot independently use certain features of the Property.

        22.     Defendants' apartments lack various mandatory elements required by the FHA,

necessary to make the apartments accessible and useable for people with disabilities.




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        23.    As a handicapped individual, Plaintiff is concerned whether apartments are

accessible and useable for people with disabilities.

        24.    Plaintiff has been injured by the Defendants' discriminatory practices and failure to

design and/or construct apartments with accessible and useable features for people with disabilities

as required by the FHA. These injuries arose from encountering discriminatory barriers at the

Property.

        25.    Without injunctive relief, Plaintiff and others will continue to be unable to fully

access and use the Property in violation of their rights under the FHA.

C.      FHA Violations.

        26.    The Defendants' violations of 42 U.S.C. § 3604(f)(3)(C) at the Property include,

but are not limited to, those outlined below. These allegations represent just some of the barriers

demonstrating Defendants' failure to design and construct covered units and the public and

common use areas in accord with 42 U.S.C. §3604(f)(3)(C) and are not intended as an exhaustive

inventory of such violations. Plaintiff anticipates that an inspection of the Property will identify

additional violations.

        27.    Defendants have failed to design and/or construct public and common-use areas

that are readily accessible to and useable by people with disabilities in compliance with 42 U.S.C.

§ 3604(f)(3)(C)(i) and 24 C.F.R. §100.205(c)(1) (2008). For example:

               a)        there was no accessible route provided to some first-floor units;

               b)        there were changes in level in the route leading to some units that rendered

                         them inaccessible;

               c)        there was no accessible route provided to the trash dumpsters;

               d)        the centralized mailbox center was not accessible;




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               e)     some gates lacked the proper clear space for maneuvering on the pull side

                      of the gate as well as the latch side of the gates; and

               f)     some accessible routes contained excessive slopes and cross-slopes making

                      it difficult for individuals using wheelchairs or mobility aids to safely move

                      about.

       28.     The Defendants have failed to design and/or construct accessible routes into and

through all units within covered dwellings in compliance with 42 U.S.C. § 3604 (f)(3)(C)(iii)(I)

and 24 C.F.R. § l00.205(c)(3)(i) (2008). For example:

               a)     there were excessively high thresholds on the interior side of some of the

                      units.

       29.     The Defendants have failed to design and/or construct light switches, electrical

outlets, thermostats and other environmental controls in accessible locations in compliance with

42 U.S.C. § 3604f(3)(C)(iii)(II) and 24 C.F.R. § 100.205(c)(3)(ii) (2008). For example:

               a)     thermostats and other environmental controls are inaccessible because they

                      are beyond the reach range of people in wheelchairs; and

               b)     thermostats are installed at heights above 48 inches.

       30.     Defendants have failed to design and/or construct useable kitchens and bathrooms

such that an individual in a wheelchair can maneuver about the space in compliance with 42 U.S.C.

§ 3604(f)(3)(C)(iii)(IV) and 24 C.F.R. § l00.205(c)(3)(iv) (2008). For example:

               a)     bathrooms are inaccessible because they lack the requisite clear floor space

                      at some of the toilets.

       31.     Further, by failing to provide the accessible and useable features required by

42 U.S.C. § 3604(f)(3)(C) at the Property for people with physical disabilities, including but not




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limited to those outlined above, the Defendants have violated 42 U.S.C. § 3604(f)(1) and/or have

discriminated against them in the terms, conditions or privileges of the rental of dwellings in

violation of 42 U.S.C. § 3604(f)(2).

                                             VI.
                                       CAUSE OF ACTION

                       For violation of the FHA, 42 U.S.C. § 3601, et seq.

       32.     The allegations in the preceding paragraphs are incorporated by reference.

       33.     The Property contains residential apartment units that are "dwelling[s]" within the

meaning of 42 U.S.C. § 3602(b).

       34.     Plaintiff has standing to sue as an "aggrieved person" as defined in 42 U.S.C.

§ 3602(i) which includes any person who (1) claims to have been injured by a discriminatory

housing practice; or (2) believes that such person will be injured by a discriminatory housing

practice that is about to occur.

       35.     At the Property, all ground-floor units are "covered multifamily dwellings" within

the meaning of 42 U.S.C. § 3604(f)(7)(A), were built for first occupancy after March 13, 1991,

and are subject to the design and construction requirements set forth in 42 U.S.C. § 3604(f)(3)(C)

of the FHA. The public- and common-use areas of the Property are also subject to the design and

construction requirements of 42 USC. § 3604(f)(3)(C) and 42 U.S.C. § 12101, et seq. ("ADA").

       36.     Through the actions and inactions described above, the Defendants have:

               a)      discriminated in the rental of, or otherwise made unavailable or denied,

                       dwellings to persons because of their disabilities in violation of 42 U.S.C.

                       § 3604(f)(1);




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               b)     discriminated against persons because of their disabilities in the terms,

                      conditions or privileges of rental of a dwelling, or in the provision of

                      services or facilities in connection with the rental of a dwelling, in violation

                      of 42 U.S.C. § 3604(f)(2);

               c)     failed to design and construct dwellings in compliance with the

                      requirements mandated by 42 U.S.C. § 3604(f)(3)(C) and the applicable

                      regulations, 24 C.F.R. Part 100.205 (2008); and

               d)     discriminated against disabled persons by failing to maintain public and

                      common areas in compliance with the ADA.

       37.     The Defendants' discriminatory conduct has damaged Plaintiff.

                                           VII.
                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for:

       a.      A Declaratory Judgment that at the commencement of this action and the

completion of construction of the Property the Defendants were in violation of the specific

requirements of the FHA, described above, and the relevant implementing regulations of the FHA

and ADA;

       b.      An injunction, pursuant to 42 U.S.C. § 3613(c)(l)(a), enjoining the Defendants,

their officers, directors, employees, agents, successors, assigns and all other persons in active

concert or participation with any of them, both temporarily during the pendency of this action, and

permanently from:

               1.     with regard to the Property, failing or refusing to bring the covered dwelling

                      units and the public use and common use areas into compliance with the




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                      requirements of 42 U.S.C. § 3604(f)(3)(C), the Americans with Disabilities

                      Act, 42 U.S.C. §12101, et seq. ("ADA") and the applicable regulations; to

                      comply with such procedures for inspection and certification of the retrofits

                      performed as may be ordered by this Court; and to perform or allow such

                      other acts as may be necessary to effectuate any judgment of this Court

                      against them;

               2.     failing or refusing to design and construct any covered multifamily

                      dwellings in the future in compliance with 42 U.S.C. § 3604(f)(3)(C) and

                      the applicable regulations; and

               3.     failing or refusing to take such steps as will eliminate, to the fullest extent

                      practicable, the lingering effects of the Defendants' unlawful housing

                      practices.

       c.      An injunction enjoining the Defendants from failing or refusing to permit the

survey of any of their covered properties that were designed and/or built by the Defendants and

any retrofits ordered by the Court to be made at such property, to also comply with such procedures

for inspection and certification of the retrofits performed as may be ordered by this Court, and to

perform or allow such other acts as may be necessary to effectuate any judgment against the

Defendants;

       d.      Award such damages as would fully compensate Plaintiff for his injuries incurred

as a result of the Defendants' discriminatory housing practices and conduct, pursuant to 42 U.S.C.

§ 3613(c)(1)(a);

       e.      Award such punitive damages against the Defendants as is proper under law,

pursuant to 42 U.S.C. § 3613(c)(1)(a);




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       f.      Payment of costs of suit;

       g.      Payment of reasonable attorneys' fees and expenses, pursuant to 42 U.S.C.

§ 3613(c)(2), 42 U.S.C. §12205; and other principles of law and equity; and

       h.      The provision of whatever other relief the Court deems just, equitable and

appropriate.

                                             VIII.
                                         JURY DEMAND

       Plaintiff demands a trial by jury of all issues so triable.

Dated: July 14, 2022.

                                               Respectfully Submitted,

                                               CALHOUN &ASSOCIATES

                                               /s/ Eric G. Calhoun
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